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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiffs,                                           8:13CR362

        vs.
                                                                               ORDER
ANDREA MCCORD,

                        Defendant.


This matter is before the court on defendant's MOTION FOR EXTENSION OF TIME FOR FILING
PRETRIAL MOTIONS [36]. For good cause shown, I find that the motion should be granted. The
defendant will be given an approximate 47-day extension. Pretrial Motions shall be filed by December 9,
2013.


        IT IS ORDERED:


        1.      Defendant's MOTION FOR EXTENSION OF TIME FOR FILING PRETRIAL
MOTIONS [36] is granted. Pretrial motions shall be filed on or before December 9, 2013.


        2.      The ends of justice have been served by granting such motion and outweigh the interests
of the public and the defendant in a speedy trial. The additional time arising as a result of the granting of
the motion, i.e., the time between October 23, 2013 and December 9, 2013, shall be deemed excludable
time in any computation of time under the requirement of the Speedy Trial Act for the reason defendant's
counsel required additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).




        Dated this 21st day of October, 2013.

                                                           BY THE COURT:

                                                           s/ F.A. Gossett, III
                                                           United States Magistrate Judge
